Case 1:25-mj-00019-MJS Document4 Filed 01/28/25 Pagelof1

AO 442 (Rev, 11/)1) Arvest Warrant

UNITED STATES DISTRICT COURT

for the

District of Columbia

United States of America

v. }
. . . . ) Case: 1:25-mj-00019

Ryan Michael English (AKA: "Reily" Michael ) Assigned To : Sharbaugh, Matthew J.

English} ) Assign. Date : 1/28/2025
) Description: COMPLAINT W/ARREST WARRANT
)

Defendant
ARREST WARRANT
To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

(name of person to be arrested) Ryan Michael English :
who is accused of an offense or violation based on the following document filed with the court:

8 Indictment © Superseding Indictment O Information © Superseding Information I Complaint

O Probation Violation Petition O) Supervised Release Violation Petition O Violation Notice O Order of the Court
This offense is briefly described as follows:

26 U.S. Code § 5861 (Unlawful Receipt, Possession, and/or Transfer of a Firearm),
40 U.S. Code § 5104(e}(1)(A) (Carrying a Firearm, Dangerous Weapon, Explosive, or
Incendiary Device on the Grounds of the Capitol).

Date: 01/28/2025

issuing officer's signature

City and state: Washincton. D.C. Matthew J. Sharbaugh, U.S. Magistrate Judge

Prinied name and litle

Return

at (city and state}

This warrant was receiyed on (date) \ | y8/ aS , and the person was arrested on (date) I / JP / 26
WWaslanaon OC. .
—
Date: i/ We [aX

Arresting officer's signature

Ravers Nos wa

Printed name and title

